USCA Case #23-5044        Document #2015572           Filed: 09/06/2023    Page 1 of 5



              [NOT YET SCHEDULED FOR ORAL ARGUMENT]

                IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT


   IN RE SEALED CASE                          No. 23-5044


                MOTION OF 22 PRESS ORGANIZATIONS
              FOR LEAVE TO FILE BRIEF AS AMICI CURIAE
       Pursuant to Federal Rule of Appellate Procedure 29(a)(3) and Circuit Rule

29(b), and in response to this Court’s August 16, 2023 Order directing the parties

to show cause why the “sealed merits briefs in this case . . . and the audio

recording and transcript of the joint session of the oral argument should not be

unsealed,” and directing the Government to show cause “why the ex parte appellee

brief and the audio recording and transcript of the ex parte session of the oral

argument should not be unsealed,” proposed amici curiae, 22 press organizations,1


   1
    The proposed amici are Advance Publications, Inc., American Broadcasting
Companies, Inc. d/b/a ABC News, The Associated Press, Bloomberg L.P., Cable
News Network, Inc., CBS Broadcasting, Inc. o/b/o CBS News, Dow Jones &
Company, Inc., publisher of The Wall Street Journal, The E.W. Scripps Company,
Fox News Network, LLC, USA TODAY, a publication operated by subsidiaries of
Gannett Co., Inc., Gray Media Group, Inc., Los Angeles Times Communications
LLC, publisher of The Los Angeles Times, National Cable Satellite Corporation
d/b/a C-SPAN, NBCUniversal Media, LLC d/b/a NBC News, The New York
Times Company, POLITICO LLC, Radio Television Digital News Association,
Reuters News & Media Inc., TEGNA Inc., Telemundo Network Group LLC d/b/a
Noticias Telemundo, Univision Networks & Studios, Inc., and WP Company LLC
d/b/a The Washington Post.
USCA Case #23-5044        Document #2015572           Filed: 09/06/2023     Page 2 of 5



respectfully seek leave to file the attached brief in support of neither party and in

support of access to all of the briefs, argument transcripts, and argument audio

recordings referenced in the August 16 Order (together, the “Sealed Records”).

      The First Amendment and common law rights of access to court records are

“a fundamental element of the rule of law, important to maintaining the integrity

and legitimacy of an independent Judicial Branch.” Metlife, Inc. v. Fin. Stability

Oversight Council, 865 F.3d 661, 663 (D.C. Cir. 2017) (Garland, J.). Nowhere is

the maintenance of integrity and legitimacy more important than in a case like this

one, involving the historic and closely-watched investigation of a former President.

Amici thus seek to provide the Court with the unique perspective of news media

organizations on the public’s right of access to judicial records and proceedings in

general and the importance of access to these Sealed Records in particular.

      Amici’s participation is especially important here because the parties have

filed their responses to the Court’s August 16 Order entirely under seal. Amici

therefore seek to ensure that the Court receives a clear and complete articulation of

the public’s constitutional and common law rights of access to the records that

remain under seal in this important case.

      Undersigned counsel notified counsel for the Government and Twitter on

August 29, 2023 that amici intended to file a brief in support of unsealing the

Sealed Records. Counsel for Twitter responded that Twitter consents to the filing.



                                            2
USCA Case #23-5044        Document #2015572           Filed: 09/06/2023   Page 3 of 5



Counsel for the Government responded that “[t]he government takes no position on

this request and defers to the Court.”

      For the foregoing reasons, amici respectfully request that the Court grant

them leave to file the attached brief.

     Dated: September 6, 2023                Respectfully submitted,

                                             /s/ Charles D. Tobin
                                             Charles D. Tobin
                                             Chad R. Bowman
                                             Maxwell S. Mishkin
                                             Lauren Russell
                                             BALLARD SPAHR LLP
                                             1909 K Street NW, 12th Floor
                                             Washington, DC 20006
                                             Telephone: (202) 661-2200
                                             Fax: (202) 661-2299
                                             tobinc@ballardspahr.com
                                             bowmanchad@ballardspahr.com
                                             mishkinm@ballardspahr.com
                                             russelll@ballardspahr.com

                                             Counsel for Amici Curiae




                                         3
USCA Case #23-5044      Document #2015572         Filed: 09/06/2023   Page 4 of 5



                     CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limit of Federal Rule of

Appellate Procedure 27(d)(2)(A) because it contains 505 words.

                                     /s/ Charles D. Tobin
                                     Charles D. Tobin
USCA Case #23-5044       Document #2015572           Filed: 09/06/2023    Page 5 of 5



                         CERTIFICATE OF SERVICE

      I hereby certify that on September 6, 2023, I directed the foregoing to be

filed electronically with the Clerk of the Court by using the appellate CM/ECF

system. I further certify that, pursuant to Circuit Rule 27(b), I caused four paper

copies of the foregoing to be filed via FedEx to the Clerk of the Court for the

United States Court of Appeals for the District of Columbia Circuit.

                                       /s/ Charles D. Tobin
                                       Charles D. Tobin
